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             IN THE UNITED STATES DISTRICT COURT FOR THE
                    NORTHERN DISTRICT OF FLORIDA
                         PENSACOLA DIVISION

UNITED STATES OF AMERICA
               Plaintiff,

vs.                                                           Case No. 3:08cr83/LAC

RAMAKRISHNA REDDY KALVAKUNILA
                  Defendant.
_______________________________

                     PRELIMINARY ORDER OF FORFEITURE

        WHEREAS, in the Indictment in the above-entitled action, the United States

sought forfeiture from the defendant RAMAKRISHNA REDDY

KALVAKUNILA pursuant to Title 18, United States Code, Sections 981(a)(1), 982(a)(1),

(a)(2)(B) and (b)(1), and Title 28, United States Code, Section 2461(c), the defendant’s

interests in any property, real or personal, involved in the violations set forth in Counts

One, Two, Five and Six of said Indictment and/or any property traceable to such property;

        AND WHEREAS, on or about October 8, 2008, the defendant RAMAKRISHNA

REDDY KALVAKUNILA, pled guilty to Counts One, Two, Five and Six of the

Indictment pursuant to a written plea and cooperation agreement outlining such forfeiture;

        AND WHEREAS, by virtue of said plea agreement, the United States is now

entitled to entry of a Preliminary Order of Forfeiture against all of defendant’s interest in

said property, pursuant to Title 18, United States Code, Sections 981(a)(1), 982(a)(1),
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(a)(2)(B) and (b)(1), and Title 28, United States Code, Section 2461(c) of the Federal

Rules of Criminal Procedure; now wherefore,

       IT IS HEREBY ORDERED:

       1.      That all of defendant’s rights and interest in the property described below

is hereby forfeited to and vested in the United States of America.

       2.      That property which is subject to forfeiture in this Order is as follows:

               A.     One 2002 silver Honda bearing Vehicle Identification Number

                      5FNRL18652B036168 registered to defendant RAMAKRISHNA

                      REDDY KALVAKUNILA.

               B.     $159,242 in U.S. currency seized from the residence of defendant

                      RAMAKRISHNA REDDY KALVAKUNILA.

               C.     $84,043.60 in the form of Official Bank Checks, seized from the

                      residence of defendant RAMAKRISHNA REDDY

                      KALVAKUNILA.

               D.     $30,054 in U.S. currency seized from Sai Food Mart, 400 North

                      Highway 29, Pensacola, Florida;

               E.     $15,868.91 in U.S. currency seized from the account of Sai Food

                      Mart, Inc. located in Wachovia Bank (now known as Wells Fargo

                      and Company Bank) account number ending in 7256;




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              F.      $33,831.37 in U.S. currency seized from the account of Sai Food

                      Mart, Inc. at Wachovia Bank (now known as Wells Fargo and

                      Company Bank) account number ending in 7379; and

              G.      $6,514.14 in U.S. currency seized from the account of

                      RAMAKRISHNA REDDY KALVAKUNILA at Wachovia Bank

                      (now known as Wells Fargo and Company Bank) account number

                      ending in 3291.

       3.     That a Preliminary Order of Forfeiture is hereby entered in favor of the

United States against defendant, RAMAKRISHNA REDDY KALVAKUNILA, pursuant

to Rule 32.2(b)(1) of the Federal Rules of Criminal Procedure

       IT IS SO ORDERED this 11th day of December, 2008




                                    s /L.A. Collier
                                    LACEY A. COLLIER
                                    SENIOR UNITED STATES DISTRICT JUDGE




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